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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

Brian Musgrave,                             )       Civil Action No.: 2:25-cv-01823-RMG
                                            )
                      Plaintiff,            )
                                            )
              v.                            )
                                            )
                                            )
Nancy Mace and Jane/John Does 1-5,          )
                                            )
                      Defendants.           )
                                            )

     DEFENDANTS’ CONSENT MOTION TO EXTEND RESPONSE DEADLINE

       Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A) and Local Civil Rule 6.01

(D.S.C.)—and with Plaintiff’s consent—Defendants respectfully move for a twenty-five (25) day

extension of time (through July 11, 2025) to respond to Plaintiff’s pleading. Although the United

States is not currently a defendant in this action, Defendants are represented by undersigned

counsel from the United States Attorney’s Office for the District of South Carolina. See ECF Nos.

9, 11. In support of this motion, Defendants state as follows:

       1.     Defendants’ current deadline to respond to Plaintiff’s Complaint (ECF No. 1) is

June 16, 2025. See ECF No. 10.

       2.     The deadline for Defendants’ response has been extended once. Pursuant to Local

Civil Rule 12.01 (D.S.C.), Plaintiff agreed to a 20-day extension of the deadline until June 16,

2025, for Defendants to respond to the Complaint. See ECF No. 10.

       3.     However, on June 9, 2025, Plaintiff filed a Notice of Motion and Motion to Amend

the Complaint (Plaintiff’s Motion) with Defendants’ consent. See ECF No. 16. If the Court grants

Plaintiff’s Motion, Defendants will be required to file their response to the Amended Complaint

“within the time remaining to respond to the original pleading or within 14 days after service of
                                                1
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the amended pleading, whichever is later[,]” “[u]nless the court orders otherwise . . . .” Fed. R.

Civ. P. 15(a)(3). As of the date of this filing, Plaintiff’s Motion is still pending.

       4.       Defendants respectfully request an extension of time until July 11, 2025, to respond

to Plaintiff’s pleading. If this Court grants Plaintiff’s Motion and dockets the Amended Complaint,

this extension will allow adequate time for undersigned counsel to review the new allegations and

discuss them with the House of Representatives to determine the proper response.

       5.       Defendants’ request will not affect any other deadlines.

       6.       Pursuant to Local Civil Rule 7.02 (D.S.C.), the undersigned counsel consulted with

counsel for Plaintiff prior to filing this motion. Counsel for Plaintiff consents to this request.


                                                     Respectfully submitted,

                                                     BRYAN P. STIRLING
                                                     UNITED STATES ATTORNEY

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June 11, 2025




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